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                                                            No. 18-1006
                                                       (Filed: July 27,2018)
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EDWARD THOMAS KENNEDY,                                                                 U.S. COURT OF
                                                                                      FEDERAL CLAIMS
                                      Plaintiff,




THE UNITED STATES,

                                      Defendant.
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                                                                ORDER

      For good cause shown, plaintiff s motion for leave to pro ceed informa
pauperis is granted. The complaint, however, must be dismissed because it
does not raise a claim within this court's iurisdiction.

       This claim was filed on July 1 I , 201 8, shortly after plaintiff filed a
complaint in Case No. 18-942. The complaints are similar in substance, and
neither raises a claim within this court's jurisdiction. The complaint is
dismissed for the reasons already addressedin Kennedy v. United States,No'
l8-942 (Fed. Cl. filed I:uJ.27,2018).

                Accordingly, the following is ordered:

                1. The clerk's office is directed to file no further complaints from this
                party absent leave from the undersigned.

                2. The Clerk is directed to dismiss the complaint for lack of subject-
                matter jurisdiction and enter judgment accordingly. No costs.




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                                 EzuC G. BRUGGINK
                                  Senior Judge
